 Fill in this information to identify the case:
 Debtor name COLUMBUS OIL & GAS, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BAKER HUGHES                                                                                                                                                               $6,900.00
 PO BOX 301057
 DALLAS, TX
 75303-1057
 CAPITAL ONE                                                                                                                                                              $18,207.00
 BANK
 PO BOX 60024
 CITY OF INDUSTRY,
 CA 91716-0024
 CHARLES U.                                                                                                                                                         $18,500,000.00
 LAWRENCE TRUST
 6436 Lakeshore
 Road
 Fort Gratiot, MI
 48059
 DAKOTAH OIL                                                                                                                                                              $12,000.00
 PO BOX 25
 ALLEN, MI 49227
 FIRST BANKCARD                                                                                                                                                           $11,169.00
 PO BOX 2814
 OMAHA, NE
 68103-2814
 FLINTOFF & KLEIN                                                                                                                                                         $20,885.00
 2149 JOLLY RD
 SUITE 500
 OKEMOS, MI 48864
 FLOWTEK INC.                                                                                                                                                           $103,000.00
 PO BOX 1310
 KALKASKA, MI
 49646
 FRONTIER                                                                                                                                                                   $1,300.00
 PO BOX 2951
 PHOENIX, AZ
 85062-2951




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 Debtor    COLUMBUS OIL & GAS, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 GALLAGHER,                                                                                                                                                             $125,000.00
 FLINTOFF & KLEIN,
 PLC
 2408 LAKE
 LANSING ROAD
 LANSING, MI 48912
 IPFS                                                                                                                                                                       $1,000.00
 CORPORATION
 24722 NETWORK
 PLACE
 CHICAGO, IL
 60673-1247
 JET SUBSURFACE                                                                                                                                                             $6,643.82
 450 SIDES DRIVE
 PO BOX 1866
 GAYLORD, MI 48734
 KINGSLY                                                                                                                                                                  $12,250.00
 COMPRESSION
 3750 SOUTH NOAH
 DRIVE
 SAXONBURG, PA
 16056
 MACALLISTER                                                                                                                                                              $17,395.00
 MACHINE CO. INC.
 DEPT 78731
 PO BOX 78000
 DETROIT, MI
 48278-0731
 MID CITY SUPPLY                                                                                                                                                            $2,028.00
 CO, INC.
 940 INDUSTRIAL
 PARKWAY
 ELKHART, IN
 46516-5599
 MIDWEST ENERGY                                                                                                                                                             $9,500.00
 COOPERATIVE
 901 E. STATE
 STREET
 PO BOX 127
 CASSOPOLIS, MI
 49031
 MIKA MEYERS, PLC                                                                                                                                                         $90,000.00
 900 MONROE
 AVENUE NW
 GRAND RAPIDS, MI
 49503
 PRAXAIR                                                                                                                                                                    $1,000.00
 DISTRIBUTION
 DEPT CH 10660
 PALATINE, IL
 60055-0660



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 Debtor    COLUMBUS OIL & GAS, LLC                                                                            Case number (if known)
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 RDC COMPUTER                                                                                                                                                                 $525.00
 AND NETWORK
 SERVICES, LLC
 9307 SCOTTY OAKS
 HELOTES, TX 78023
 SPL,                                                                                                                                                                         $700.00
 INCORPORATED
 PO BOX 842013
 DALLAS, TX
 75284-2013
 THE CINCINNATI                                                                                                                                                           $10,000.00
 INSURANCE
 COMPANY
 PO Box 145496
 Cincinnati, OH
 45250-5496




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